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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                          No. 24-CR-0032 MV

FRANCISCO DIAZ,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

        THIS MATTER is before the Court on Mr. Diaz’s Motion to Dismiss the Indictment for

Government Violation of Defendant’s Sixth Amendment Right to Compulsory Process [Doc. 80].

Having considered the briefs and relevant law, having heard oral argument, and being otherwise

fully informed, the Court finds that the motion is not well-taken and will be denied.

                                         BACKGROUND

        On September 3, 2019, agents with the Drug Enforcement Administration (“DEA”) and

officers with the Region III Narcotics Task Force executed a warrant authorizing the search of

Francisco Diaz’s home at 7 Josephine Road in Santa Fe, New Mexico. Based on the search and an

interview with Mr. Diaz, Mr. Diaz was charged with possession with intent to distribute 500 grams

and more of a mixture and substance containing a detectable amount of cocaine, in violation of 21

U.S.C. §§ 841(a) and (b)(1)(B), and possession of a firearm in furtherance of a drug trafficking

crime, in violation of 18 U.S.C. § 924(c). Trial in this matter is scheduled to begin on February 26,

2024.

        On January 12, 2024, the Court held a hearing on Mr. Diaz’s Motion to Suppress

Statements and Evidence [Doc. 6]. During the hearing, Mr. Diaz called his fiancée, Michelle

Romero, as a witness. After direct examination regarding the events of the morning of September

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3, 2019, government counsel cross-examined Michelle Romero, and asked whether she had seen

“any cocaine in the master bedroom closet . . . in the days before September 3rd.” Doc. 59 at 105:4-

106:10. Defense counsel objected on relevance grounds, government counsel countered that it was

“clear impeachment,” and the Court observed that there were “potential Fifth Amendment issues.”

Id. Government counsel then stated in relevant part, “Then she can invoke the Fifth Amendment.

We won’t be charging her.” Id. Defense counsel conceded, “The Court is right, [Michelle Romero]

has a Fifth Amendment. If [government] counsel is going to ask that question, then she needs to

have an attorney appointed to her.” Id. Government counsel indicated that he would “end it there,”

as, “if the witness [was] going to invoke the Fifth, there [would be] no reason to proceed further.”

Id. The Court asked the witness whether that was what she was “going to do,” and the witness

responded, “Yes, Your Honor.” Id.

       Thereafter, on January 19, 2024, Mr. Diaz filed his Witness List, which included Michelle

Romero, and indicated that she “[m]ay have information regarding the accessibility and

whereabout [sic], prior to 9-3-19, of firearms found in the master bedroom closet at 7 Josephine.”

Doc. 40. Mr. Diaz’s Witness List also included Daniel Diaz, Mr. Diaz’s brother, and indicated that

he, too, “[m]ay have information regarding the accessibility and whereabout [sic], prior to 9-3-19,

of firearms found in the master bedroom closet at 7 Josephine.” Id.

       In an email to the Court and copied to defense counsel on January 30, 2024, government

counsel indicated his belief that, based on his initial, partial review of data from Mr. Diaz’s iCloud

account that had since been “walled off” from him after defense counsel indicated the possibility

that the data included attorney-client communications, “there is a risk that defense witnesses will

perjure themselves during their testimony.” Doc. 80-1. As a result, government counsel advised

that these witnesses “should be permitted to consult with independent counsel before they



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proceed.” Id.

       In response, the Court asked government counsel to submit further information regarding

which defense witnesses the government believed might perjure themselves and the basis for this

belief. Government counsel replied that the witnesses in question were Michelle Romero1 and

Daniel Diaz. As to Michelle Romero, government counsel noted in relevant part that she had

“testified at the suppression hearing that she would have invoked the Fifth Amendment in response

to my questions about the cocaine. I don’t think charging her would be a good use of anyone’s

time, but I can’t bind the state, and if I were her I’d want my own lawyer.” Doc. 80-2. As to Daniel

Diaz, government counsel recalled reviewing a conversation in which “Mr. Diaz discussed the

case with another party, who was clearly a male friend or relative. The friend/relative suggested

that Mr. Diaz would be in better shape if only he could figure out who the guns belonged to. Mr.

Diaz did not respond to that message.” Id. Government counsel reasoned that if the friend/relative

involved in this exchange was indeed Daniel Diaz, “this exchange is potentially problematic if

Defendant’s brother testifies that he placed the pistols in Defendant’s closet, or that he knew to

whom the pistols belonged.” Id.

       Defense counsel did not respond to government counsel’s concerns regarding Michelle

Romero. She did, however, advise that she and “[t]elephone forensics expert Wade Swift [had]

gone through the messages between Mr. Diaz and his brother, Daniel Diaz and there is not a single

message where they discuss Mr. Diaz’s case or anything about firearms. The message to

which [government counsel] referred in his email yesterday was from someone called “fatty” and

the text that person sent stated “find who the guns belonged to really.” Doc. 80-3.



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  Government counsel initially confused Michelle Romero with Elora Romero, who is Mr.
Diaz’s ex-wife, and is not listed as a witness on Mr. Diaz’s witness list. Government counsel has
since clarified that his concerns applied to Michelle Romero, not Elora Romero.
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       Thereafter, on February 4, 2024, government counsel sent defense counsel an email

message asking whether Michelle Romero had separate counsel. Doc. 80 at 3. Although it is not

clear precisely when she did so, defense counsel asserts that she has “suggested to Daniel Diaz and

Michelle Romero to consult with separate counsel.” Id.

       On February 6, 2024, during a meeting at the DEA, “defense counsel and government

counsel engaged in a disagreement,” the subject of which is irrelevant to the instant motion.

According to the Declaration of Paula Sanchez-Knudsen, a private investigator who also attended

the meeting, during their disagreement, government counsel “accused [defense counsel] of

encouraging witnesses to perjure themselves.” Doc. 80-4. Ms. Sanchez-Knudsen also states that,

in response to defense counsel saying that “if he was going to make such a serious allegation, he

better produce evidence of it,” government counsel “demanded to see [defense counsel]’s phone.”

Id.

       On February 7, 2024, Mr. Diaz filed the instant motion, arguing that the government’s

“baseless claims that defense witnesses will perjure themselves if they testify,” in addition to the

government “directly and openly accus[ing] defense counsel of encouraging witnesses to perjure

themselves” have infringed “Mr. Diaz’s Sixth Amendment right to compulsory process requiring

dismissal by this Court.” Doc. 80 at 6. Mr. Diaz also asks the Court to hold an evidentiary hearing

to make specific factual findings in connection with the instant motion. Id. at 9. The government

filed a response in opposition on February 9, 2024, objecting both to dismissal of the indictment

and to the need for an evidentiary hearing. Doc. 85. On February 10, 2024, Mr. Diaz filed a reply

in further support of his motion. Doc. 86. In his reply, Mr. Diaz noted that, since filing the instant

motion, his counsel “was notified by the attorney with whom Michelle Romero has consulted that

Ms. Romero does not wish to testify.” Id. at 2. Mr. Diaz has not represented to the Court that



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Daniel Diaz no longer intends to testify.

                                            DISCUSSION

I.     Mr. Diaz Is Not Entitled to an Evidentiary Hearing.

       “A defendant who requests a hearing bears the burden of showing that there are disputed

issues of material fact.” United States v. Barajas-Chavez, 358 F.3d 1263, 1266 (10th Cir. 2004)

(citation omitted). For purposes of the instant motion, the Court assumes that the material facts as

described by Mr. Diaz and as presented in the exhibits that he has submitted are accurate. The

Court thus need not resolve any potential factual disputes between the parties to decide the instant

motion.

       Further, the Court does not agree with Mr. Diaz’s argument, made for the first time in his

reply brief, that the Court “must hold an evidentiary hearing regarding the effect” that the

government’s conduct “has had on the defense witnesses’ willingness to testify.” Doc. 86 at 3. The

Court need not reach this issue because, as set forth herein, the Court does not find, in the first

instance, that the government’s conduct infringed Mr. Diaz’s constitutional rights. In the absence

of unlawful conduct in the first instance, any “effect” of the government’s (lawful) conduct on the

defense witnesses’ willingness to testify is not material. Accordingly, the Court declines to hold

an evidentiary hearing before deciding the merits of the instant motion.

II.    Dismissal of the Indictment Is Not Warranted, as Government Counsel Did Not
       Deprive Mr. Diaz of his Constitutional Right to Present a Defense.

       “A criminal defendant’s right to present a defense is essential to a fair trial.” United States

v. Serrano, 406 F.3d 1208, 1214 (10th Cir. 2005). The Fifth Amendment and the Sixth Amendment

“concomitantly provide a criminal defendant the right to present a defense by compelling the

attendance, and presenting the testimony, of his own witnesses.” Id. at 1215. Specifically, the Fifth

Amendment “right to due process includes a right to be heard and to offer testimony.” United

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States v. Pablo, 696 F.3d 1280, 1295 (10th Cir. 2012) (citation omitted). And the Sixth

Amendment “right to compulsory process guarantees the defendant the right to the government’s

assistance in compelling the attendance of favorable witnesses at trial and the right to put before a

jury evidence that might influence the determination of guilt.” Id. (citation omitted).

       Nonetheless, “[a] defendant’s right to present a defense . . . is not absolute.” Serrano, 406

F.3d at 1215. “The right may, in appropriate cases, bow to accommodate other legitimate interests

in the criminal trial process.” Id. Notably, “a defendant’s right to present a defense does not include

the right to compel a witness to waive his Fifth Amendment privilege against self incrimination.”

Pablo, 696 F.3d at 1295.

       Yet while “a witness may freely invoke his privilege against self incrimination even at the

expense of the defendant’s right to present a defense, the government cannot substantially interfere

with a defense witness’s decision to testify.” Id.; see Webb v. Texas, 409 U.S. 95, 97-98 (1972)

(holding that a trial judge’s “lengthy and intimidating warning” and “threatening remarks”

effectively caused the defendant’s only witness not to testify in violation of the Due Process

Clause). The restriction on government action extends to prosecutors. Pablo, 696 F.3d at 1295.

       In determining whether “the government impermissibly interfered with a witness’s

decision to testify,” the dispositive question is “whether the government’s interference was

‘substantial.” Id. at 1216. In turn, “[i]nterference is substantial when the government actor actively

discourages a witness from testifying through threats of prosecution, intimidation, or coercive

badgering.” Serrano, 406 F.3d at 1216. Importantly, “[t]he potential for unconstitutional coercion

by a government actor significantly diminishes . . . if a defendant’s witness elects not to testify

after consulting an independent attorney.” Id. (emphasis in original).

       For example, in Serrano, the Tenth Circuit found no substantial interference where the



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prosecutor “did not act in bad faith when he notified the court that the witnesses’ testimony could

subject them to prosecution.” Id. Addressing the defendant’s argument that “the prosecutor was

disingenuous in raising the self-incrimination issue” and only raised the issue “to gain a tactical

advantage at trial,” the Court indicated that the record did not support this argument, citing United

States v. Crawford, 707 F.2d 447, 450 (10th Cir. 1983), for the proposition that “an assistant United

States attorney has an obligation to disclose the fact that several of the defense witnesses were

targets of other investigations,” and United States v. Jackson, 935 F.2d 832, 847 (7th Cir. 1991),

for the proposition that “ethical duties require prosecutors to warn unrepresented witnesses of the

risk that the testimony they are about to give may be used against them.” Serrano, 406 F.3d at

1212 n.1. In finding that the prosecutor did not “discourage[] the witnesses from testifying through

threats of prosecution, intimidation, or coercive badgering,” the Court noted, “Indeed, nothing in

the record indicate[d] the prosecutor ever spoke a word to [the witnesses] about [their] testimony

at trial.” Id. The Court further noted that “[t]he witnesses invoked their Fifth Amendment privilege

only after conferring with their independent attorneys.” Id. Thus, the Court concluded that “[t]he

witnesses’ decision not to testify was not the product of improper governmental coercion . . ., but

instead was a decision insulated from such governmental pressures by the independent and neutral

advice of counsel,” and accordingly, “[t]he governmental action” at issue “did not run afoul of the

Due Process Clause.” Id. (emphasis in original).

       Finding the case before it to be “on all fours with Serrano,” the Pablo Court similarly found

that, rather than having “actively discourage[d]” the defendant’s two witnesses from testifying

through “threats of prosecution,” the prosecutor had “merely raised his concern to the district court

that the testimony of these two witnesses could lead to their prosecution.” 696 F.3d at 1296. The

Court noted that the prosecutor had not “misrepresent[ed] or otherwise overstate[d] his concern



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but explained that he could not promise the Court that, depending on what they said, the United

States would not prosecute them.” Id. Further, the Court found that “[n]othing in the prosecutor’s

colloquy with the district court indicat[ed] active discouragement through the threat of

prosecution.” Id. The Court also found no support in the record for the defendant’s argument that

the prosecutor acted in bad faith by raising the self-incrimination issue, noting that the

circumstances of the case “present[ed] a real risk that [the witnesses] may have incriminated

themselves if they testified.” Id. The Court next emphasized the fact that “each prospective witness

received the advice of independent counsel before invoking the privilege against self-

incrimination,” which “significantly diminishe[d] the risk that [] the prosecutor []

unconstitutionally coerced the prospective witnesses not to testify.” Id. at 1297. Thus, the Court

concluded, “both prospective witnesses freely invoked the privilege against self-incrimination

after conferring with independent counsel.” Id.

       In contrast, in United States v. Orozco, 291 F. Supp. 3d 1267 (D. Kan. 2017), the court

found that the prosecutor substantially interfered with the defendant’s witness in violation of the

defendant’s Sixth Amendment right to present a defense, where the prosecutor told the witness’s

attorney that the witness “could be charged with perjury if he testified, that [she] was aware of his

pending charges and which prosecutor was handling [the witness’s] case,” and further that

“seeking ramifications against [the witness] if he testified was a strong possible outcome.” Id. at

1278. The court found that these comments “went far beyond a straightforward perjury warning,”

and constituted “a veiled threat of prosecution.” Id. at 1280. While the witness had consulted with

his attorney before deciding not to testify, the court found that “the tempering effect that

independent counsel typically has on coercive warnings was diminished in this case because [his

attorney] was apparently the messenger of [the prosecutor’s] comments.” Id. Finally, the court



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noted that the prosecutor’s other conduct in the case provided strong context for finding that she

acted in bad faith, including her late disclosure of information that she represented to the court to

be irrelevant but in fact was exculpatory Brady material. Id. at 1279.

       Under the relevant standard and based on the facts presented by Mr. Diaz, the Court cannot

conclude that the government substantially interfered with the testimonial decisions of Mr. Diaz’s

witnesses. As an initial matter, there is no indication that Daniel Diaz has decided not to testify.

Accordingly, nothing that government counsel has said or done with respect to Daniel Diaz’s

potential to perjure himself has deprived Mr. Diaz of the benefit of Daniel Diaz’s testimony. Mr.

Diaz thus has failed to show that the government interfered at all, let alone substantially, with

Daniel Diaz’s decision to testify.

       And while Mr. Diaz has represented that Michelle Romero has decided not to testify, the

record does not support Mr. Diaz’s claim that this decision was the result of the government’s

substantial interference. First, government counsel did not “actively discourage” Michelle Romero

from testifying. Pablo,696 F.3d at 1296. Mr. Diaz asserts that Michelle Romero “has interpreted

the government’s various allegations that witnesses may perjure themselves, the government’s

accusation against defendant counsel, and the government’s statement during the suppression

hearing about charging Ms. Romero as a threat that, if Ms. Romero testifies, she will be charged

regardless of the veracity of her testimony.” Doc. 86 at 2 (emphasis added). But this is not a

reasonable interpretation in light of the record, and in any event, it is the government’s conduct,

not the witness’s interpretation of that conduct, that is dispositive. Indeed, the transcript of the

suppression hearing reflects that, far from threatening her with prosecution, government counsel

explicitly represented, while Michelle Romero was on the stand, that the government “won’t be

charging her.” Doc. 59. Further, while government counsel raised with the Court the specter of



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perjury, inquired of defense counsel as to whether Michelle Romero had obtained separate counsel,

and confronted defense counsel about what he perceived as her encouragement of witnesses to

engage in perjury, there is no indication that government counsel “ever spoke a word” to Michelle

Romero about her testimony at trial, much less intimidated or badgered her. Serrano, 406 F.3d at

1216. And while Mr. Diaz states in his reply brief that an unidentified DEA agent “has called

defense witness Daniel Diaz at least twice in an effort to speak with him,” there is no indication

that the agent, or anyone else from the government, has actually spoken to him.

        Similarly, government counsel did not “misrepresent or otherwise overstate his concerns”

regarding potential perjury when he communicated those concerns to the Court. Pablo, 696 F.3d

at 1296. Rather, government counsel conveyed to the Court via email message that, based on his

recollection of documents to which he no longer had access, he perceived “a risk that defense

witnesses will perjure themselves during their testimony.” Doc. 80-1. His message did not

“indicate active discouragement through the threat of prosecution,” Pablo, 696 F.3d at 1296, but

rather advised that these witnesses “should be permitted to consult with independent counsel

before they proceed.” Doc. 80-1. Accordingly, government counsel’s comments were not “a veiled

threat of prosecution,” but rather “a straightforward perjury warning.” Orozco, 291 F. Supp. 3d at

1280.

        Nor does the record support Mr. Diaz’s contention that the government’s concerns were

“baseless,” and thus raised in bad faith for the sole purpose of “keep[ing] defense witnesses from

testifying.” Doc. 80 at 6, 3. Government counsel explained that his concerns regarding Michelle

Romero were based on her testimony “at the suppression hearing that she would have invoked the

Fifth Amendment in response to [his] questions about the cocaine.” Doc. 80-2. And while he

reiterated his position that “charging her would [not] be a good use of anyone’s time,” he indicated



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that he could not “bind the state, and that if [he] were her, [he’d] want [his] own lawyer.” Id.

Indeed, defense counsel herself stated at the suppression hearing that Michelle Romero “has a Fifth

Amendment” right at stake, and that if the government is “going to ask” her about the cocaine in

the master bedroom closet (which he did at the hearing and represented that he would do again at

trial), “then she needs to have an attorney appointed to her.” Doc. 59. Given defense counsel’s

own stated belief, expressed before government counsel ever raised the issue, that Michelle

Romero needed to have an attorney appointed to represent her, the Court is not inclined to find

that it was in bad faith that the government reached the very same conclusion.

       Similarly, the government described a conversation that he believed may have been

between Mr. Diaz and Daniel Diaz in support of his concerns regarding Daniel Diaz. While defense

counsel allayed that concern by clarifying that the message government counsel remembered was

not from Daniel Diaz but instead was from someone called “Fatty,” Doc. 80-3, defense counsel

did not equally establish that the government’s concern was conjured up to “intimidate witnesses

from testifying,” Doc. 80 at 6, rather than a function of faulty memory or mistaken identity.

Notably, unlike the context in which the Orozco court found that the prosecutor had acted in bad

faith, there is no other conduct in this case that would provide contextual support for a finding that,

in advising the Court that Mr. Diaz’s witnesses should have their own attorneys, government

counsel acted in bad faith.

       Finally, Michelle Romero invoked her Fifth Amendment privilege at the suppression

hearing on January 12, 2024, before government counsel raised his concerns about perjury in his

email message on January 30, 2024. Doc. 59. Accordingly, that decision necessarily “was not the

product of improper governmental coercion.” Serrano, 406 F.3d at 1216 (emphasis in original).

And it was only after she consulted with her own attorney that Michelle Romero notified defense



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counsel that she did not wish to testify at all. Doc. 86 at 2. Accordingly, that decision “was

insulated from [] governmental pressures by the independent and neutral advice of counsel.”

Serrano, 406 F.3d at 1216. Michelle Romero “freely” decided not to testify “after conferring with

independent counsel,” id. – counsel which defense counsel agreed was necessary and which she

herself urged Michelle Romero to obtain. Doc. 86 at 4. Nor is there any reason to believe that “the

tempering effect that independent counsel typically has on coercive warnings was diminished in

this case,” as Michelle Romero’s attorney was not “the messenger” of any of government counsel’s

comments. Orozco, 291 F. Supp. 3d at 1280.

       For these reasons, “the governmental action at issue [here] did not run afoul of the Due

Process Clause.” Serrano, 406 F.3d at 1216. It follows that there is no basis in either the Fifth or

the Sixth Amendment to dismiss the indictment in this case.

II.    Dismissal Pursuant to the Court’s Supervisory Powers Is Not Warranted.

       Mr. Diaz argues in the alternative that the Court should invoke its “supervisory powers to

vindicate the integrity of the judicial process” and dismiss the indictment to deter the government’s

“conduct that is aimed at preventing defense witnesses from testifying and at hampering the

defendant’s presentation of his defense.” Doc. 80 at 9. “A court may dismiss an indictment by

relying on its supervisory powers.” United States v. Kuykendall, No. 21-cr-793, 2022 WL 850700,

at *3 (citing United States v. Kilpatrick, 821 F.3d 1456, 1465 (10th Cir. 1987)). “The supervisory

powers theory is premised on the federal courts’ inherent ability to formulate procedural rules not

specifically required by the Constitution or the Congress.” Kuykendall, 2022 WL 850700, at *3

(citing Kilpatrick, 821 F.3d at 1465). Invoking the court’s supervisory powers to dismiss an

indictment, however, “is a drastic remedy, plainly inappropriate without full consideration and

rejection of more narrowly tailored measures to deter improper prosecutorial [or government]



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conduct.” Kuykendall, 2022 WL 850700, at *3 (citing United States v. Bolain, 933 F.3d 1019 (10th

Cir. 1991)).

       Under this standard, Mr. Diaz has failed to show that dismissal of the indictment is a proper

use of this Court’s supervisory powers. While Mr. Diaz claims that the government’s conduct was

“baseless and aimed only at keeping the defendant from presenting his witnesses and his defense,”

Doc. 80 at 9, as discussed above, he has failed to support this claim with any evidence that the

government substantially interfered in his witnesses’ decision to testify. By the same token, he has

not shown that, by advising the Court that Mr. Diaz’s witnesses should be represented by counsel,

the government engaged in illegal conduct. Kuykendall, 2022 WL 850700, at *3. Nor has Mr. Diaz

“presented any facts showing that the government’s conduct impaired this Court’s integrity as an

independent body.” Id. Accordingly, the Court cannot agree that the government’s conduct

demonstrates a “blatant, flagrant disregard for the integrity of the Constitution and the criminal

process.” Doc. 80 at 9. The Court thus declines Mr. Diaz’s invitation to invoke its supervisory

powers to impose the drastic remedy of dismissal here.

                                         CONCLUSION

        Mr. Diaz has failed to establish that the government substantially interfered with his

witnesses’ decision to testify in violation of his due process rights under the Fifth Amendment or

his right to compulsory process under the Sixth Amendment. It thus would be improper to dismiss

the indictment on this basis. Further, it would not be a proper invocation of the Court’s supervisory

powers to dismiss the indictment. Finally, the Court does not require an evidentiary hearing to

reach these determinations, as there are no material facts in dispute.




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      IT IS THEREFORE ORDERED THAT Mr. Diaz’s Motion to Dismiss the Indictment

for Government Violation of Defendant’s Sixth Amendment Right to Compulsory Process [Doc.

80] is DENIED.



ENTERED this 23rd day of February 2024.


                                          _______________________________
                                          MARTHA VÁZQUEZ
                                          SENIOR UNITED STATES DISTRICT JUDGE




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